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EAST. O1V. COLUMBUS

PHILIP J. CHARVAT,

Plaintiff, : Case No. 2:11-cv-00237
V. : Judge Frost
TRUGREEN LIMITED PARTNERSHIP, : Magistrate Kemp

et al.

Defendants.

PLAINTIFF’S DISMISSAL WIFH PREJUDICE
NOW COMES PLAINTIFF PHILIP J. CHARVAT who hereby dismisses this case with

prejudice as all disputes have been resolved by the parties.

Respect’ submitted,

Eig LEN

hike J. Chéfvat, Pro &

636 Colony Drive
Westerville, Ohio 43081-3616
614 895-1351
PJCharvat@Hotmail.Com
Case: 2:11-cv-00237-GLF-TPK Doc #: 17 Filed: 08/29/11 Page: 2 of 2 PAGEID #: 172

CERTIFICATE OF SERVICE
The undersigned certifies that a true and accurate copy of the foregoing document was
served upon the Attomey for Defendants this se day of August, 2011:
Mark C. Melko

300 Spruce Street, Floor One
Columbus, Ohio 43215-1173

 

 

MMelko@WilesLaw.Com
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EL
Philip J. Charvat
